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SOUTHERN DISTRICT oF NEW YoRK DUC #:
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UNITED sTATEs oF AMERICA, l DATE FH“ED #' “'
-against- 09-Cr-57 (LAK)
WILLIAM TRoPER,
Defendant
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Bail Order

As stated at the Mar 5, 2009 pretrial conference, defendant’s bail is set as follows:

* $2,000,000 Personal recognizance bond cosigned by Andrew |ntrater, a friend, and loan
Sa|zberg, the defendant's mother.

* The bond shall be secured by Mr. |ntrater's apartment on E.58th St., in Manhattan, New
York.

* The defendant shall reside with his mother in the District of New lersey.

* The defendant will be under home confinement and subject to electronic monitoring
with permission to leave the home in order to visit his counsel in Manhattan, or, for any
other purpose approved by both Pretrial Services and the U.S. Attorney’s Office.

* Defendant Troper shall repatriate $154,000 from |srael, within 7 days of his release, to
be held in escrow by defense counsel.

*Defendant shall surrender both his U.S. and |sraeli passports and make no new
applications for travel documents.

*Defendant's travel is limited to the districts of New Jersey and the Southern District of
New York.

Dated; March 9, 2009 m A/\/.

Lewis A. Kaplan
United States District Judge

 

